+ ,Case 2:06-cv-04274-DMC-MF Document it Filed 09/11/06 Page 1 of 29 PagelD: 1

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For appropriate action and follow up
original to Corporation Counsel
WONG FLEMING py to file
A Professional Corporation
821 Alexander Road, Suite 150
P.O. Box 3663
Princeton, New Jersey 08543-3663
(609) 951-9520
Attomeys for Plaintiff Janell Robinson

 

JANELL ROBINSON, SUPERIOR COURT OF NEW JERSEY

LAW DIVISION- ESSEX COUNTY
& Plaintiff,

Docket No. ESX-L-005145-06

Vv. Civil Action

CITY OF NEWARK; NEWARK CITY

 

POLICE DEPARTMENT, and in their Se 2
official and individual _ capacities, | SUMMONS ye age
ANTHONY F. AMBROSE III, IRVING Ss mn
BRADLEY, and DENNIS SANDERS, - 253
jointly and severally, - 73
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Defendants. - = "1

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From: The State of New Jersey
To: City of Newark

The plaintiff, named above, has filed a lawsuit against you in the Superior Court
of New Jersey. The verified complaint attached to this summons states the basis for this
lawsuit. If you dispute this complaint, you or your attorney must file a written answer or
motion and proof of service with the deputy clerk of the Superior Court in the county

. listed above within 35 days from the date you received this summons, not counting the
: date you received’it. (The address of each deputy clerk of the Superior Court is
provided.) If the complaint is one in foreclosure, then you must file your written answer

or motion and proof of service to the Clerk of the Superior Court, Hughes Justice
Complex, P.O. Box 971, Trenton, N.J. 08625-0971. A filing fee payable to the Clerk of

the Superior Court and a completed Case Information Statement (available from the

deputy clerk of the Superior Court) must accdmpany your answer or motion when it is

filed. You must also send a copy of your answer or motion to plaintiff's attomey whose

name and address appear above, or to plaintiff, if no attorney is named above. A
telephone call will not protect your rights; you must file and serve a written answer or

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If you do not file and serve a written answer or motion within 35 days, the court
may enter a judgment against you for the relief plaintiff demands, plus interest and costs
of suit. If judgment is entered against you, the Sheriff may seize your money, wages or
property to pay all or part of the judgment.

If you cannot afford to pay an attorney, call the Legal Services office in the county
where you live. A list of these offices is provided. If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one
of the Lawyer Referral Services. A list of these numbers is also provided.

Dated: August 8, 2006 DONALD F. PHELAN/s/

DONALD F. PHELAN, Clerk of the
Superior Court

Name of defendant to be served: City of Newark

Address of defendant to be served: 920 Broad Street, Room 306

Newark, NJ 07102

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ATLANTIC COUNTY

Deputy Clerk of the Superior Court
Civil Division, Direct Filing

1201 Bacharach Blvd., First Fl.
Aulantic City, NJ 08401
LAWYER REFERRAL

(609) 345-3444

LEGAL SERVICES

(609) 348-4200

BERGEN COUNTY

Deputy Clerk of the Superior Court
Case Processing Section, Room 119
Justice Center, 10 Main St.
Hackensack, NJ 07601-0769
LAWYER REFERRAL

(201) 488-0044

LEGAL SERVICES

(201) 487-2166

BURLINGTON COUNTY
Deputy Clerk of the Superior Court
Central Processing Office
Attn Judicial Intake

First Fl., Courts Facility

49 Rancocas Rd.

Mt. Holly, NJ 08060
LAWYER REFERRAL
(609) 261-4862

LEGAL SERVICES

(609) 261-1088

CAMDEN COUNTY

Deputy Clerk of the Superior Court
Civil Processing Office

Ist Fl., Halt of Records

101 S. Fifth St

Camden, NJ 08103

LAWYER REFERRAL

(856) 964-4520

LEGAL SERVICES

(856) 964-2010

CAPE MAY COUNTY

Deputy Clerk of the Superior Court
ON. Main Street

Box DN-209

Cape May Court House, NJ 08210
LAWYER REFERRAL

(609) 463-0313

LEGAL SERVICES

(609) 465-3001

Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 3 of 29 PagelD: 3

CUMBERLAND COUNTY
Deputy Clerk of the Superior Court
Civil Case Management Office
Broad & Fayette Sts., P.O. Box 615
Bridgeton, NJ 08302

LAWYER REFERRAL

(856) 692-6207

LEGAL SERVICES

(856) 451-0003

ESSEX COUNTY

Deputy Clerk of the Superior Court
50 West Market Street

Room 131

Newark, NJ 07102

LAWYER REFERRAL

(973) 622-6207

LEGAL SERVICES

(973) 624-4500

GLOUCESTER COUNTY
Deputy Clerk of the Superior Court
Civil Case Management Office
Attn: Intake

First Fl, Court House

1 North Broad St., P.O. Box 129
Woodbury, NJ 08096
LAWYER REFERRAL

(856) 848-4589

LEGAL SERVICES

(856) 848-5360

HUDSON COUNTY

Deputy Clerk of the Superior Court

Superior Court, Civil Records Dept

Brennan Court House — 1" Floor

583 Newark Ave.

Jersey City, NJ 07306

LAWYER REFERRAL
*(201),798-2727

- LEGAL SERVICES

(201) 79226363

HUNTERDON COUNTY
Deputy Clerk of the Superior Court
Civil Division

65 Park Avenue

Flemington, NJ 08862

LAWYER REFERRAL

(908) 735-2611

LEGAL SERVICES

(908) 782-7979

 

 
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MERCER COUNTY

Deputy Clerk of the Superior Court
Local Filing Office, Courthouse

175 South Broad Street, P.O. Box 8068
Trenton, NJ} 08650

LAWYER REFFERAL

(609) 585-6200

LEGAL SERVICES

(609) 695-6249

MIDDLESEX COUNTY

Deputy Clerk of the Superior Court
Administration Building

Third Floor

1 Kennedy Sq., PO. Box 2633
New Brunswick, NJ 08903-2633
LAWYER REFERRAL

(732) 828-0053

LEGAL SERVICES

(732) 249-7600

MONMOUTH COUNTY
Deputy Clerk of the Superior Court
71 Monument Park
P.O. Box 1269

Freehold, NJ 07728-1262
LAWYER REFERRAL

(732) 431-5544

LEGAL SERVICES

(732) 866-0020

MORRIS COUNTY

Deputy Clerk of the Superior Court
Civil Division

30 Schuyler Place, P.O. Box 910
Morristown, NJ 07960-0910
LAWYER REFERRAL

(973) 267-5882

LEGAL SERVICES .

(973) 2856911

OCEAN COUNTY

Deputy Clerk of the Superior Court
Court House, Room 119

118 Washington Street

Toms River, NJ 08754

LAWYER REFERRAL

(732) 240-3666

LEGAL SERVICES

(732) 341-2727

Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06

PASSAIC COUNTY
Deputy Clerk of the Superior Court
Civil Division
Court House
77 Hamilton Street
Paterson, NJ 07505
LAWYER REFFERAL
(973) 278-9223
LEGAL SERVICES
(973) 345-7171

SALEM COUNTY

Deputy Clerk of the Superior Court
9? Market St, P.O. Box 18

Salem, NJ 08079.

LAWYER REFERRAL

{856} 935-5628

LEGAL SERVICES

(856) 451-0003

SOMERSET COUNTY

Deputy Clerk of the Superior Court
Civil Division Office

New Court House, 3% Fl.

P.O. Bax 3000

Somerville, NJ 08876

LAWYER REFERRAL

(908) 685-2323

LEGAL SERVICES

(908) 231-0840

SUSSEX COUNTY

Deputy Clerk of the Superior Court
Sussex County Judicial Center
43-47 High Street

Newton, NJ 07860

LAWYER REFERRAL

(973) 267-5882

LEGAL SERVICES

(973) 38327400

UNION COUNTY

Deputy Clerk of the Superior Court
1" FL, Court House

2 Broad Street

Elizabeth, NJ_ 07207-6073
LAWYER REFERRAL

" (908) 353-4715

LEGAL SERVICES
(908) 354-4340

Page 4 of 29 PagelD: 4

WARREN COUNTY
Deputy Clerk of the
Superior Court

Civil Division Office
Court House

Belvidere, NJ 07823-1500
LAWYER REFERRAL
(973) 267-5882

LEGAL SERVICES

(973) 475-2010
Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 5 of 29 PagelD: 5

CIVIL CASE INFORMATION STATEMENT
| (CIS) PAYMENTTYPE: CK CG CA
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Use for initial Law Division — Civil Part pleadings (not CHGICK NO.

 

 

 

 

 

 

motions) under Rule 4:5-1. AMOUNT:
Pleading wiilt be rejected for filing, under Rule 1:5-6(c),
if information above the black bar is not completed or OVERPAYMENT:

if attorney’s signature is not affixed.

 

 

 

 

 

 

 

 

 

BATGH NUMBER:
ATTORNEY/PRO SE NAME ‘ TELEPHONE NUMBER COUNTY OF VENUE
Linda Wong, Esq. (609 ) 951-9520 Essex
FIRM NAME (Kf applicable) DOCKET NUMBER (When available)
Wong Fieming, P.C.
OFFICE ADDRESS DOCUMENT TYPE
821 Alexander Road, Suite 150 Complaint
P.O. Box 3663 JURY DEMAND
Princeton, NJ 08543-3663 [¥ ves [Jno
NAME OF PARTY (e.9., John Doe, Plaintiff) CAPTION
Janell Robinson Janell Rabinson v. City of Newark, Newark City Police Department, and in

their official and individual capacities, Anthony F. Ambrose Ill, Irving Bradley,
and Dennis Sanders, jointly and severally

 

 

 

 

 

 

CASE TYPE NUMBER
(See reverse side IS THIS A PROFESSIONAL MALPRACTICE case? L_lves[¥]Nno
for listing) 618 IF YOU HAVE CHECKED “YES,” SEE N.J.S.A. 24:534-27 AND APPLICABLE CASE LAW REGARDING
YOUR OBLIGATION TO FILE AN AFFIDAVIT OF MERIT.
RELATED CASES IF YES, LIST DOCKET
PENDING? NUMBERS .
Lhesho
00 YOU ANTICIPATE ADDING NAME OF DEFENDANT'S PRIMARY INSURANCE COMPANY, IF KNOWN

ANY PARTIES (arising out of
same transaction or occurrence)? [| ves ¥ | NG

 
 

      

(_] NONE UNKNOWN

THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE.

  

CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION

 

 

 

A. DO PARTIES HAVE A CURRENT, Wr YES, 's THAT EMPLOYER-EMPLOYEE [_] FRIENDINEIGHBOR- |_JOTHER (explain)
RELATIONSHIP
PAST OR RECURRENT 4
RELATIONSHIP? — [| ]Jves[[ Jno O FAMILIAL -- Dpsasiness vi \
B, DOES THE STATUTE GOVERNING THIS —_ —y .
CASE PROVIDE FOR PAYMENT OF FEES Ol ne \
BY THE LOSING PARTY? VV] ves NO : . .

 

USE THIS SPACE TO ALERT THE COURT TO ANY SPECIAL CASE CHARACTERISTICS , vd *
THAT MAY WARRANT INDIVIDUAL MANAGEMENT OR ACCELERATED DISPOSITION: . i :
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DO YOU OR YOUR CLIENT NEED ANY iF YES, PLEASE IDENTIFY THE
& DISABILIFY ACCOMMODATIONS? [_]ves [V] NO REQUESTED ACCOMMODATION:

 

 

 

 

 

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821 Alexander Road, Suite 150 . ma DISTRICT Geds.
P.O. Box 3663 | 9
Princeton, New Jersey 08543-3663 my Pll Als és
(609) 951-9520
Attomeys for Plaintiff
JANELL ROBINSON
JANELL ROBINSON, SUPERIOR COURT OF NEW JERSEY
- LAW DIVISION
Plaintitt, ESSEXCOUNTY |
DocketNo.ESKL- SYS -OG
Vv.
Civil Action
CITY OF NEWARK; NEWARK CITY |
POLICE DEPARTMENT, and in ‘their OLA uy RY DEMAND FOR
official and individual capacities,
ANTHONY F. AMBROSE IH, IRVING
BRADLEY, and DENNIS SANDERS, |
jointly and severally, nop

 

Defendants. cout wu bee |

 

. vine 7 .
Plaintiff, Janell Robinson, residing at 160 Lehigh Avene, Newark;'New Jersey
071 12, says by way of Complaint against Defendants, City of Newark, City of Newark
Police Department, and in their official and individual capacities, Anthony F. Ambrose
Ill, Irving Bradley, and Dennis Sanders, as follows:
. PARTIES
“ , 1. Plaintiff Janeli Robingon is a police officer with the Newark City Police
Department, where she has been employed since 1998.
2. Defendant City of Newark is a governmental body that discharges certain
constitutional and legal responsibilities for and has oversight of the governmental

agencies, departments and groups within its city, including the Newark City Police

Department.

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Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 7 of 29 PagelD: 7

 

4 3. Defendant City of Newark Police Department is the police department for
7 ' the City of Newark, existing under the laws of the State of New Jersey.
4. _ Defendant Irving Bradley is currently Chief of Police of the Newark City
i Police Department and in such capacity has had and continues to have supervisory
authority over Ms. Robinson, and direct responsibility for the terms and conditions of her
employment, including promotions, raises and day-to-day assignments and activities.

: 5. Defendant Anthony F. Ambrose III is the Police Director of the Newark

City Police Department and in such capacity has had and continues to have supervisory

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authority over the Newark City Police Department and all of its officers and employees,
: including the Chief of Police of the Newark City Police Department.
6. Defendant Dennis Sanders is a Sergeant with the Newark City Police
Department.
_ FACTS
7. Ms. Robinson has worked for the City of Newark since October 1994 and
for the Newark City Police Department since December 1996. During her employment .
with the Department, Ms. Robinson has been a hard-working and dedicated employee
and has consistently received positive work evaluations from her supervisors. For several
a years her performance has ranked in the top ten percent of officers in her district. In
. ; addition, Ms. Robinson has been instrumental in the development of the Partners Against
Crime (PAC) program, a federally funded program aimed at reducing crime by
establishing “safe havens” for participating youngsters in Newark’s South District.
8. Despite Ms. Robinson’s excellent performance and contributions to the -

Newark City Police Department, the City of Newark unlawfully retaliated against Ms.
Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 8 of 29 PagelD: 8

 

Robinson and subjected her to a hostile work environment in violation of, among other
things, the New Jersey Law Against Discrimination and public policies of the State of
New Jersey, because she aided and encouraged fellow police officer, Sergeant Ellen
McMillan, who brought sexual harassment charges against the City of. Newark and
Defendant Irving Bradley, and because she associated with Ms. McMillan and with
Deputy Chief Bryan Morris.
| 9, It was widely known within the Department that Ms. Robinson was a
close friend of Sergeant McMillan. In fact, Sergeant McMillan commonly referred to
‘Ms. Robinson as her “goddaughter” when speaking to other members of the Department.
10. Ms. Robinson’s association with Deputy Chief Bryan Morris was also
widely known, as Ms. Robinson held a fundraising dinner for Sharpe James, Lynell
Robinson (her father) and Bryan Morris on September 15, 2001, and raised over $30,000.
Ms, Robinson also worked for Bryan Morris when he was South District Commander.
11. In August 2001, Sergeant McMillan told Ms. Robinson that Lieutenant
Irving Bradley had been making inappropriate sexual remarks towards her. Ms.
Robinson urged Sergeant McMillan to report the harassment.
12.. On December 12, 2001, Sergeant McMillan filed an internal complaint
a with Captain John Scott-Bey regarding the sexual harassment by Lieutenant Bradley.
| 13. Almost immediately following the filing of the internal complaint by
Sergeant McMillan against Lieutenant Bradley, Ms. Robinson began to be subjected to
continuing and unrelenting retaliation and reprisals by Defendants.

14. OnJ anuary 1, 2002, less than one month after Sergeant McMillan reported

the harassment, Ms, Robinson’s tour was changed from a day shift to an evening and

 

 
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late-night shift, and her schedule was changed to four days on and two days off, instead

4 of the four days on and four days off as previously established in November 2001. When

 

Ms, Robinson inquired as to the reason for the change, Captain Scott-Bey told Ms.

Robinson that he had nothing to do with the change and that Lieutenant Bradley was

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responsible for the decision.

1S. When Ms. Robinson objected to the change and told Captain Scott-Bey
that she believed that the decision was made for personal rather than professional reasons,
Captain Scott-Bey agreed and stated, “Look at what he did to Bryan [Morris],” referring
to Captain Bryan Morris, who was transferred by Lieutenant Bradley to another
Department because he was a candidate for the position of Chief of Police, a position
coveted by and eventually obtained by Lieutenant Bradley.

16. Subsequently, on January 8, 2002, Captain Scott-Bey transferred Ms.
Robinson from the South District to the South District PAC (Partners Against Crime)
Unit. The sole reason given by Captain Scott-Bey for the transfer was that he wanted to
remove Ms, Robinson from the South District because he believed Lieutenant Bradley
was “out to get” Ms. Robinson, and he did not want to be involved in any conflicts within
the department. .

17. Despite Ms. Robinson's transfer to the South District PAC unit,
Lieutenant Bradley continued to interfere with Ms. Robinson’s employment: In January

of 2002, Lieutenant Bradley assigned Ms. Robinson to a walking post on Bergen Street

and rejected proposals from Ms. Robinson’s supervising lieutenant, Lieutenant Niles

Wilson, to grant her a vehicle.

 

 
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18. The retaliation against Ms. Robinson escalated after Sergeant McMillan

 

i ‘ filed a civil action with the Superior Court of New Jersey, Law Division, Essex County,
charging the City of Newark and Lieutenant Bradley with sexual harassment, sex
discrimination and retaliation in violation of New Jersey’s Law Against Discrimination.
19. On April 30, 2004, Lieutenant Bradley, in a deliberate effort to undermine
Ms. Robinson’s performance, sent a memo to Captain Scott-Bey alleging that Ms.
Robinson had failed to follow the chain of command by faxing reports directly to Deputy
Chief Bryan Morris. Although Captain Scott-Bey eventually declined to issue

administrative charges, the letter became part of Ms. Robinson’s personnel file.

 

20. On May 12, 2004, Lieutenant Bradley further retaliated against Ms.
2 Robinson and subjected her to a hostile work environment by issuing a memo
reorganizing Ms. Robinson’s unit removing her from her position as Partners Against _
Crime (PAC) Program Coordinator, a position that she had held for over two years, and
. | reassigning her to foot patrol.
21. Despite being reassigned to foot patrol, Ms. Robinson was allowed to
finish out her PAC summer camp duties before she went on vacation from August 15,
2004 to October 1, 2004. |
aM 22. Unable to harass Ms. Robinson on the job because she was on vacation,
Defendants began stalking Ms. Robinson at-her place of business. In or about September
2004, Lieutenant Bradley and his police detectives began stalking Ms. Robinson, outside
of work, at her place of business, causing her extreme emotional distress.

23. On one occasion, Bradley and one of his drivers, Detective Anthony

Williams, parked directly across the street from Ms. Robinson’s Rita’s Italian Ice

 
- Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 11 of 29 PagelD: 11

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businesses, close enough that they could make eye contact with Ms. Robinson, and

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remained there for approximately one-half hour.

24. For three consecutive days following this incident, Ms. Robinson observed
a vehicle believed to be an unmarked police car parked in the mall parking lot where Ms.
Robinson’s Italian ice business is located.

25. The Department further attempted to unlawfully interfere with Ms.

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Robinson’s business and damage Ms. Robinson’s business reputation when on October
22, 2004, Sergeant Dennis Sanders of the Newark Police Department called the corporate
headquarters of Rita’s Italian Ice, through which Ms. Robinson operated her businesses,
and demanded information on the franchise owned and operated by Ms. Robinson.
Lieutenant Sanders spoke te several people at the company and insinuated to each that
something was seriously amiss with the franchise owned by Ms. Robinson.

26. Sergeant Sanders indicated that he was from Internal Affairs and that Ms.
Robinson was being investigated. | |

27. When Ms. Robinson returned from vacation on October 1, 2006, she was
assigned exclusively to foot patrol.

28. Defendants further subjected Ms. Robinson to a hostile work environment
when on October 23, 2004, without regard to,Ms. Robinson’s personal safety, Defendants
ordered just two police officers, Ms. Robinson and police officer Yolanda Foster, to walk

the Baxter Terrace Projects, a notoriously dangerous area, despite the fact that the Police

Director had previously mandated that no fewer than two two-man unit cars be

dispatched to this area for all calls.

 

 
a: Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 12 of 29 PagelD: 12

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29. Defendants further subjected Ms. Robinson to a hostile work environment
when on November 2, 2004, Ms. Robinson was called in for questioning as part of an
internal affairs investigation regarding an incident allegedly involving Bryan Morris and
Ms. Robinson and was interrogated at length by Sergeant Sanders regarding the alleged
incident, Ellen McMillan, and Ms. Robinson’s outside business interests, including Rita’s
Italian Ice and South Jelly’s Dominican Doobies Hair Salon. -

| 30. Defendants further humiliated Ms. Robinson and invaded her privacy
when Sergeant Sanders questioned all of the officers in the Partners Against Crime
evening crew regarding Ms. Robinson’s businesses interests and Ms. Robinson’s
supervisor Captain Sheila Coley, making it appear that Ms. Robinson had been operating
| her businesses on police department time, thus causing Ms. Robinson extreme
humiliation and embarrassment and tarnishing her reputation within the department.

Other officers who operated outside businesses were not investigated in this manner.
31. Sergeant Sanders, the officer conducting the interview, later apologized to
Ms. Robinson, because it was clear to him that that there was no basis for the

investigation.

32. Defendants further retaliated against Ms. Robinson when on or about
a November 16, 2004, Defendant Bradley falsely and maliciously filed a memo unfairly
reprimanding Ms. Robinson for failing to file log sheets, when in fact Ms. Rebinson was
at a meeting and not on patrol and therefore not required to file a log sheet. Lt. MacPhee

filed a report in response to Defendant Bradley’s memo, and no administrative charges

were brought against Ms. Robinson. Nevertheless, the memo was made part of her in

personnel file.

 

 
Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 13 of 29 PagelD: 13

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33. Ms. Robinson was subjected to further retaliation and intimidation after

: | Sergeant McMillan submitted responses to interrogatories in her pending sexual
harassment suit, on or about November 23, 2004, identifying both Ms. Robinson and
Deputy Chief Bryan Mortis as potential witnesses in her sexual harassment case.

34. Police Officer Aloma Wright refused to correct Ms. Robinson’s statistical
information after Ms. Robinson advised her that her statistical information was incorrect,
and repeatedly told Ms. Robinson that she only does “what Chief Bradley tells [her] to
do,” in an effort to intimidate Ms. Robinson. |

35. Ms. Robinson filed a report with Acting Deputy Chief Brian Gavin
regarding the intimidation by Ms. Wright, but Deputy Chief Gavin failed to take any
remedial action.

36. Beginning on January 30, 2005, and continuing on regular basis, Newark
City Police officers working under the direction of Chief Bradley stalked, harassed and
intimidated Ms. Robinson.

37. On January 30, 2005, while on foot patrol speaking to a citizen, Ms.

Robinson observed a gold SUV slow down and an individual, whom she recognized as

~ Sergeant William Thomas, look directly at her. After Ms. Robinson finished speaking to

- the citizen, she took a circuitous. route through the neighborhood in order to avoid

Thomas, but he continued to follow Ms. Robinson for approximately one-half hour to
forty-five minutes.

38. On February 2, 2005, Ms. Robinson observed the same gold SUV parked

outside the mini-precinct in the vicinity of Ms. Robinson’s hair salon for approximately

two hours.

 

 
- Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 14 of 29 PagelD: 14

 

39, Thereafter, ‘on February 1, 2005, Ms. Robinson again observed a
suspicious vehicle pass her while on patrol.

40. On February 8, 2005, while on foot patrol, Ms. Robinson observed a white
Crown Victoria with New Jersey plates circle the block three times and recognized the
driver of the vehicle as an undercover police officer,

' 41. | That same day Ms. Robinson observed three other suspicious vehicles that
appeared to be following her. |

42. On February 24, 2005, Ms. Robinson again observed a suspicious vehicle
that also appeared to be following her. Ms. Robinson was considerably shaken by each
of these incidents, which individually and collectively caused her to fear for her personal
safety.

| 43. On February 8, 2005, Lieutenant Bradley maliciously and vindictively
directed Acting Lieutenant MacPhee to order Officer Yolanda Foster and Ms. Robinson
“not to set foot” on Bergen Street, which was part of their prid, during their patrol,
because there was no longer a fixed post on Bergen Street. As a result of this directive,
Officers Foster and Robinson were forced to take an indirect route both from the precinct
to the patrol] route and from one part of the route to another. They were banned from
walking on Bergen Street even on their way home. Having been stalked and her grid
now having been narrowed, Ms. Robinson -became increasingly fearful for her personal
safety.

44. Defendants continued their retaliation against Plaintiff when in February

2005, Police Officer Aloma Wright falsely and maliciously made statements to various

individuals, including Police Officers Jonathan Taylor, Mark Williams, Karima Hanibal,

 
_ + , Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 15 of 29 PagelD: 15

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and Yolanda Foster that Ms. Robinson stole $30,000 from the PAC program and would
be put in jail. |

45. Chief Bradley, with the assistance of Councilman Donald Bradley, also
falsely and maliciously made statements to others including Ms. Robinson’s godmother,
Mary Singleton, that Ms. Robinson stole $30,000 from the PAC program.

. 46. Chief Bradley further retaliated against Ms. Robinson by calling for an
audit of the PAC program. Captain Machia performed the audit and no irregularities
were found. |

47, Ms. Robinson was subjected to further retaliation when Lieutenant
MacPhee refused to grant Ms. Robinson four emergency vacation days after Ms.
Robinson’s cousin and cousin’s daughter were kidnapped and held hostage at gunpoint,
on the pretext that she had failed to complete the necessary paperwork first. Only after
Ms. Robinson went to Lieutenant Coley was Ms. Robinson allowed to take the four days
off and told not to worry about the paperwork, which she could complete on her return.

48. Asa result of the continuing and unrelenting harassment by Defendants,
Ms. Robinson was eventually forced to sell her hair salon, South Jelly’s Dominican
Doobies, in May of 2005.

; a“ 49. In, an effort to further intimidate Ms. Robinson, on Saturday, June 18,
2005, Lieutenant Casale called Ms. Robinson to the precinct for questioning regarding
the McMillan sexual harassment matter. At that time, the questioning went far beyond

the business purpose of the litigation when she was questioned by Chief Bradley’s

lawyer, Susan Singer, regarding both the McMillan sexual harassment case and other

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‘» Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 16 of 29 PagelD: 16

personal matters, including her business relationships with Deputy Chief Bryan Morris

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and Ellen McMillan.
50. Defendants further subjected Ms. Robinson to a hostile work environment

on the basis of her disabilities when on August 8, 2005, Ms. Robinson received a

 

disciplinary warning a pattern for a pattern of booking off sick on the weekend or the day
before or after the weekend, after she had taken legitimate time off for severe migraines,
knee injuries and other disabilities.

31. On November 29, 2005, Ms. Robinson’s attorneys sent a letter to Police
Director Ambrose detailing Ms. Robinson’s claims of unlawful discrimination including
a hostile work environment and retaliation and violation of her First Amendment right to
association.

32. Defendants further retaliated against Ms. Robinson when on Monday,
December 12, 2005, less than two weeks after Plaintiff's attorneys sent their demand
letter, Lieutenant Kinder of the Newark Police Department's Medical Services Unit called
Ms. Robinson, who was on long term administrative sick leave, at home and ordered her
to report to the Medical Services Unit on Friday, December 16, 2005, at 9:00 a.m. in
order to be evaluated by the "Police Surgeon.” Lieutenant Kinder further informed Ms.

Robinson that the doctor’s note that she had previously provided was not sufficient and

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that she must provide additional medical .documentation in the form of her doctor's |
transcribed notes.
53. Ms. Robinson had already provided a note from her treating physician

containing ali the required information, and the note had not yet expired.

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_ Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 17 of 29 PagelD: 17

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54, On Friday, December 16, 2005, Ms. Robinson reported to the Medical

 

Services Unit to be evaluated by Dr. Anthony Ciccone, the Newark Police Department
physician, as ordered. Dr. Ciccone had a tape recorder, and was prepared to tape record
his conversation with Ms. Robinson. When Ms. Robinson requested that she also be
allowed to tape record the conversation, Dr. Ciccone refused to perform the evaluation,
and instead ordered Ms. Robinson to “get out.”

55. | When Ms. Robinson asked what type of documents the Department was
looking for, Dr. Cicconne yelled, "tell your lawyer to put it in writing what she is looking
for,” and then yelled, "I want MRI's, copies of your folder, and doctor's notes.”

56. There is nothing in the Department’s Sick Leave Policy that requires an
employee who is on long-term administrative sick leave to provide copies of his/her
treating physician’s transcribed notes, nor has any other Newark Police Department
employee on long-term administrative sick leave ever been required to submit transcribed
physician notes.

57. The additional requirement that Ms. Robinson provide her doctor's
transcribed notes was created solely to harass Ms. Robinson for objecting to Defendant’s
unlawful and discriminatory acts in violation of the LAD.

“ 58. Defendant City of Newark has. failed to enforce and adhere to an effective
harassment and discrimination policy for its employees that prevents and protects against
unlawful conduct in the nature of sexual harassment, retaliation, and other forms of
discriminatory and tortious activity.

59. Defendant City of Newark ratified, participated in, and/or acquiesced to

the retaliatory and tortious conduct perpetuated upon Ms. Robinson and has otherwise.

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. Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 18 of 29 PagelD: 18

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acted with willful indifference to Ms. Robinson’s entitlement to a workplace free from
harassment, discrimination, retaliation, and other tortious interference. |

60. As a result of the foregoing, Ms. Robinson has incurred physical and
emotional injuries, including but not limited to, insomnia, depression, anxiety, headaches,

chest pains and high blood pressure.

FIRST COUNT
(Retaliation/V iolation of Law Against Discrimination)

6t. Plaintiff Janell Robinson incorporates the allegations set forth in
paragraphs 1 through 60, as if fully set forth herein.

62.  Asaresult of aiding and encouraging fellow police officer, Sergeant Ellen
McMillian in the exercise of her right to oppose unlawful discrimination, granted and
protected by New Jersey’s Law Against Discrimination, Ms. Robinson has been subject
to unlawful retaliation and reprisals by Defendants, including but not limited to, a hostile
work environment, in violation of New Jersey’s Law Against Discrimination, N.J.S.A.
10:5-1 to ~42.

WHEREFORE, Plaintiff demands judgment against Defendants, jointly and

a severally, and in their individual and, official capacities, awarding her:

A. — Equitable damages, including but not limited to, lost wages and interest,
based upon Defendants’ unlawful conduct;

B, Compensatory damages, including but not limited to, all damages for pain

and suffering and other losses resulting from Defendants’ unlawful actions;

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_ Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 19 of 29 PagelD: 19

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C. Punitive damages for Defendants’ extreme and outrageous conduct toward
Ms. Robinson;

D. _. Costs of suit, including reasonable attorneys fees;

E. Injunctive relief, enjoining Defendants from subjecting Ms. Robinson to
further discrimination and retaliation and other unlawful conduct under New Jersey’s
Law Against Discrimination; and

| F. Such other relief deemed by the Court to be equitable and just, as provided
by law.
| SECOND COUNT

Disabili Discrimination/Violation of Law Against Discrimination

 

63. Plaintiff incorporates the allegations set forth in Paragraphs 1 through 62,
as if fully set forth herein. .
64. Defendants, based on the allegations set forth above, have subjected Ms.
Robinson to unlawful discrimination on the basis of her disabilities, including disparate
treatment on the basis of her disabilities, which discriminatory conduct was sufficiently
severe or pervasive so as to alter the conditions of Ms. Robinson’s employment and
| a create a hostile, abusive and offensive working environment in violation of New Jersey’s
Law Against Discrimination, NISA. 10:5-1 to 42.

65. Defendants, are strictly and vicariously liable for their hostile work

environment disability harassment against Ms, Robinson.

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. Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 20 of 29 PagelD: 20

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WHEREFORE, Plaintiff Janell Robinson demands judgment against

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| Defendants, jointly and severally, and in their official and individual capacities, awarding
her:
| A. Equitable damages, including but not limited to, back pay, lost wages,
interest, and other benefits of employment, based upon Defendants’ unlawful conduct:

B. Compensatory damages, including but not limited to, all damages for pain
and suffering and other losses resulting from Defendants’ unlawful actions;

C, Punitive damages for Defendants’ extreme and outrageous conduct toward
Janell Robinson;

D. Costs of suit, including reasonable attorneys fees;

E. Injunctive relief, enjoining Defendants from subjecting Ms. Robinson to
further discrimination and retaliation and other unlawful conduct under New Jersey’s
Law Against Discrimination; and |

F. Such other relief deemed by the Court to be equitable and just, as provided

by law.

THIRD COUNT

Giding, Abetting, Inciting, Compelling and/or Coercing in Violation of New
Jersey’s Law Against Discriminatién) :.

66. Ms. Robinson incorporates the allegations set forth in Paragraphs 1
through 65, as if fully set forth herein.

67. Defendants, based on the allegations set forth above, have aided, abetted,
incited, compelled and/or coerced the doing of acts forbidden under the Law Against

Discrimination, in violation of, among other things, N.J.S.A. 10:5-12(e).

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| ' _ Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 21 of 29 PagelD: 21

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WHEREFORE, Plaintiff demands judgment against 1983 Defendants, jointly and
severally, and in their official and individual capacities, awarding her: |

A. Equitable damages, including but not limited to lost wages and interest;

—«#B. Compensatory damages, including but not limited to all damages for pain

and suffering and other losses resulting from Defendants’ unlawful actions; |

C. Punitive damages for Defendants’ extreme and outrageous conduct
towards Ms. Robinson;

D. All costs of suit, including reasonable attorneys fees;

E. Any and all such other relief deemed by the Court to be equitable and just,

as provided by law.

FOURTH COUNT
(Section 1983 Violations)

68. Plaintiff Janell Robinson incorporates paragraphs 1 through 67, as though
set forth at length herein.

69. The aforementioned actions of Defendants Irving Bradley, Anthony F.
Ambrose If], and Dennis Sanders (hereinafter, the “1983 Defendants”) were a part of a
policy, practice and custom of the 1983 ‘Defendants, which were adopted by them,
whether formally or in fact. _—

70. The 1983 Defendants, in acting under the color of state law, did
intentionally and maliciously deny Ms. Robinson constitutional rights under the First

Amendment clause of the United States Constitution and New Jersey Constitution under

42 U.S.C. § 1983, including her First Amendment right to association, when the 1983

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Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 22 of 29 PagelD: 22

WHEREFORE, Plaintiff demands judgment against 1983 Defendants, jointly and
severally, and in their official and individual capacities, awarding her: |

A. Equitable damages, including but not limited to lost wages and interest;

_~«&B. Compensatory damages, including but not limited to all damages for pain

and suffering and other losses resulting from Defendants’ unlawful actions, |

C. Punitive damages for Defendants’ extreme and outrageous conduct
towards Ms. Robinson;

D. All costs of suit, including reasonable attorneys fees;

E. Any and ail such other relief deemed by the Court to be equitable and just,

as provided by law.

FOURTH COUNT
(Section 1983 Violations)

68. Plaintiff Janell Robinson incorporates paragraphs | through 67, as though
set forth at length herein.

69. The aforementioned actions of Defendants Irving Bradley, Anthony F.
Ambrose II, and Dennis Sanders (hereinafter, the “1983 Defendants”) were a part of a
policy, practice and custom of the 1983 Defendants, which were adopted by them,
whether formally or in fact. _

70. The 1983 Defendants, in acting under the color of state law, did
intentionally and maliciously deny Ms. Robinson constitutional rights under the First

Amendment clause of the United States Constitution and New Jersey Constitution under

42 U.S.C. § 1983, including her First Amendment right to association, when the 1983

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Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 23 of 29 PagelD: 23

Defendants unlawfully subjected Ms. Robinson to a hostile work environment in
retaliation for her association with fellow officer, Ellen McMillan, who objected to
Defendants’ acts of sexual harassment and discrimination in violation of, among other
things, the Law Against Discrimination and applicable State and Federal Constitutions;
and in retaliation for her association with Police Captain Bryan Morris.

71. . The aforementioned actions and conduct of the 1983 Defendants denied
Ms. Robinson her right to association under the First Amendment of the United States
Constitution and the New Tersey Constitution by penalizing her for associating with
fellow officer, Ellen McMillan, who asserted her First Amendment rights; and with
Deputy Chief, Bryan Morris.

72, | The foregoing actions by the 1983 Defendants caused Ms. Robinson to
incur considerable economic harm and emotional distress damages.

WHEREFORE, Plaintiff demands judgment against 1983 Defendants, jointly and
severally, and in their official and individual capacities, awarding her:

A. Equitable damages, including but not limited to lost wages and interest;

B. Compensatory damages, including but not limited to all damages for pain
and suffering and other losses resulting from Defendants’ unlawful actions;

C. Punitive damages for Defendants’ extreme and. outrageous conduct
towards Ms, Robinson; -

D. All costs of suit, including reasonable attorneys’ fees;

E. Any and all such other relief deemed by the Court to be equitable and just,

as provided by law,

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_ Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 24 of 29 PagelD: 24

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FIFTH COUNT
(Violation of the Federal Family and Medical Leave Act)
73. Ms, Robinson incorporates the allegations set forth in paragraphs one
through 72 as if fully set forth herein.

74. . Defendants have violated the Federal Family and Medical Leave Act by

failing to provide Ms. Robinson with notice of her rights and its obligations under the

Federal Family and Medical Leave Act and subjecting Ms. Robinson to harassment for
exercising her right to take medical leave under the Federal Family and Medical Leave
Act.

WHEREFORE, Plaintiff demands judgment against Defendants, jointly and
severally, and in their official and individual capacities, assessing penalties and sanctions,
and awarding her:

A. Equitable damages, including but not limited to, lost wages, benefits

and interest, denied to her;

B, Compensatory damages, including but not limited to, all damages for
pain and suffering and other loses resulting from Defendants’ unlawful actions;
Cc. Punitive damages for Defendants’ extreme and outrageous conduct

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and willful and wanton disregard for Ms. Robinson’s entitlement to family leave;

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D. Liquidated damages;
E, Costs of suit, including reasonable attommeys’ fees; and
F, Such other relief deemed by the Court to be equitable and just, as provided

by law.

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_ Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 25 of 29 PagelD: 25

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SIXTH COUNT

(Intentional Infliction of Emotional Distress)

75, Plaintiff Janell Robinson incorporates the allegations set forth in
paragraphs 1| through 74 as if fully set forth herein

76. By their extreme and outrageous conduct beyond the bounds of decency,

" Defendants exhibited a deliberate and reckless disregard for the mental and emotional

well-being of plaintiff.

77. Defendants, through engaging in and permitting an ongoing pattern of
intentional harassment and offensive actions and statements as recited above,
intentionally caused Ms. Robinson to suffer severe embarrassment, humiliation, ridicule,
mental anguish, and emotional distress.

78. The emotional distress inflicted by the Defendants on Ms. Robinson
caused physical and emotional injuries including, but not limited to, insomnia, depression
anxiety, headaches, chest pains and high blood pressure.

79. Defendants are strictly and vicariously liable for their intentional infliction
of emotional distress against Ms. Robinson.

WHEREFORE, Plaintiff demands judgment against Defendants, jointly and
severally, and in their individual and. official capacities, awarding her:

A. Equitable damages, including but not limited to lost wages and interest,
based upon Defendants’ unlawful conduct;

B, Compensatory damages, including but not limited to all damages for pain

and suffering and other losses resulting from Defendants’ unlawful actions;

C. Punitive damages for Defendants’ extreme and outrageous conduct toward

Ms. Robinson;

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, Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 26 of 29 PagelD: 26

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D. Costs of suit, including reasonable attorneys’ fees;
E. Injunctive relief requiring Defendants to refrain from such tortious
conduct: and

F, Such other relief deemed by the Court to be equitable and just, as provided
by law.

SEVENTH COUNT
Breach of Public Policy

80. Plaintiffs incorporate paragraphs 1 through 79, as though set forth at
length herein, ,

81. Defendants have subjected Ms. Robinson to a hostile work environment,
causing her to suffer adverse employment actions, and have violated Ms. Robinson’s
right to association, in violation of the public policies of the State of New Jersey.

WHEREFORE, Plaintiff Janell Robinson demands judgment against
Defendants, jointly and severally, and in their official and individual capacities, awarding
her:

A. Equitable damages, including but not limited to lost wages and interest,
based upon Defendants’ unlawful conduct;

a B. Compensatory damages, including but not limited to all damages for pain
and suffering and other losses resulting from Defendants’ unlawful actions;

Cc. Punitive damages for Defendants’ extreme and outrageous conduct toward
Ms. Robinson;

D. Costs of suit, including reasonable attorneys’ fees;

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: ' Case 2:06-cv-04274-DMC-MF Document 1-1 Filed 09/11/06 Page 27 of 29 PagelD: 27

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E. Injunctive relief requiring Defendants to refrain from such tortious
conduct; and

F, Such other relief deemed by the Court to be equitable and just, as provided

 

by law.
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A Professional Corporation
Attomeys Mtomeys Pe Plaintiff J Th Robinson
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INDA WONG }
Dated: June 16, 2006 Vi

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RULE 4:5-1 CERTIFICATION
I hereby certify that the above entitled matter is not the subject of any other
arbitration proceedings or Court proceedings, nor am I aware that such proceedings are

contemplated.

 

Dated: June 16, 2006

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DEMAND FOR JURY TRIAL

~ Plaintiff Janell Robinson hereby demands a trial by jury as to all issues.

 

 

| By: i KA | .
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Dated:’ June 16, 2006 .

NOTICE OF DESIGNATION OF TRIAL COUNSEL

 

PLEASE TAKE NOTICE that Daniel C. Fleming and Linda Wong are jointly

designated as trial counsel on behalf of Plaintiff in this matter.

WONG FLEMING
A Professtonal Corporation

Attomeys for ee Janell Robinson
By: “/ Ii Li

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Dated: June 16, 2006 LX y

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AT: 1973! SG3-85248.

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PSMTTPICATION OF COCR CAUSE WITHIN 30 DAYS OF THE PILING OF YOUR PLEADING.
OLAINTIPP MUST SERVE COPTES OF THIS FORM ON ALL OTHER PARTIES IM ACCORDANCE
WITH Rds 5A-2.
ATTENTION:
ATT: LINBA A. WONG
WONG FLEMING PC
821 ALEXANDER ROAD
SUITE 150 SUEFTE 150
PRINCETON . NJ 08543-3663
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